Case 2:05-CV-02382-.]DB-STA Document 17 Filed 06/20/05 Pagelof4 Page_lD`lS

 

/?
IN THE UNITED STATES DISTRICT COURT HLED BY '9;€ D'C'
FOR THE WESTERN DISTRICT OF TENNESSEE t
WESTERN DIVISION 05 JUN 20 PH 3" l t
mm
CLERK, U.S. DlST.O|C.¢`»!TC'.>
United States Of America, W‘D' OF TN' MEMPH‘S
Plaintiff,
v. CIVIL ACTION NO. 2:05-cv-02382-B/A
(Transferred from Middle District of North
National Bank of Commeroe, Carolina 1 :04CV00518)

Defendant / Third-Party Plaintiff,

v.
Specialty Foods, LLC, and Paul T. Capps,

Third-Party Defendants.

 

RULE 16(b) SCHEDULING ORDER

 

Pursuant to the scheduling conference set by written notice, the following dates are

established as the final dates for:

INITIAL DISCLOSURES (RULE 26(a)(l)): No later than July 5, 2005.
JOINING PARTIES:

For Plaintiff:

August 22, 2005

For Defendant and Third-Party Defendant: September 21, 2005
AMENDING PLEAI)INGS:

For Plaintiff: August 22, 2005

For Defendant and 'I`hird-Party Defendant: September 21, 2005
COMPLETING ALL DISCOVERY: February 21, 2006

Th|s document entered on the docket sheet |n compliance `
with Ftule 58 and,'or 79(3) FFICP on ’ " 1

Case 2:05-CV-02382-.]DB-STA Document 17 Filed 06/20/05 Page 2 of 4 Page|D 14

(a) REQUESTS FOR PRODUCTION, February 21, 2006
INTERROGATORIES, and
REQUESTS FOR ADMISSIONS:

(b) EXPERT DIsCLosURE (Rule 26(a)(2):

(i) Plaintif`f‘s Experts: December 21, 2005
(11) Defendant and Third-Party Defendant’s Experts: January 23, 2006
(iii) Supplementation under Rule 26(e): February 2, 2006

(c) DEPOSITIONS OF EXPERTS: February 21, 2006

FILING DISPOSITIVE MOTIONS: March 21, 2006

FINAL LIsTs or WITNESSES AND ExHIBlTs (Rule 26(a)(3))=

(a) For Plaintiff`: 45 days before trial
(b) For Defendant and Third-Party Defendant: 30 days before trial

Parties shall have 10 days after service of final lists of witnesses and exhibits to file
objections under Rule 26(a)(3).

The trial of this matter is expected to last 3 days. The presiding judge Will set this matter
for NON-JURY TRIAL. In the event the parties are unable to agree on a joint pretrial order, the
parties must notify the court at least ten days before trial.

OTHER RELEVANT MATTERS:

Interrogatories, Requests for Production and Requests for Admissions must be submitted
to the opposing party in sufficient time for the opposing party to respond by the deadline for
completion of discovery For example, if` the FRCP allow 30 days f`or a party to respond, then
the discovery must be submitted at least 30 days prior to the deadline for completion of
discovery

Motions to compel discovery are to be filed and served by the discovery deadline or
Within 30 days of the default or service of the response, answer, or objection which is subject of
the motion if the default occurs within 30 days of the discovery deadline, unless the time for
filing of such motion is extended for good cause shown, or any objection to the default, response,
or answer shall be waived.

The parties are reminded that pursuant to Local Rule 7(a)(l)(A) and (a)(l)(B), all
motions, except motions pursuant to FRCP 12, 56, 59, and 60, shall be accompanied by a
proposed Order and a Certificate of Consultation.

Case 2:05-CV-02382-.]DB-STA Document 17 Filed 06/20/05 Page 3 of 4 Page|D 15

The opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply, however, without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting
forth the reasons for which a reply is required

The parties may consent to trial before the Magistrate Judge. The Magistrate Judge can
normally provide the parties with a definite trial date that Will not be continued, unless a
continuance is agreed to by all parties or an emergency arises which precludes the matter from
proceeding to trial.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the scheduling dates set by this Order will not be modified or
extended

IT IS SO ORDERED.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Date:§,m.¢ /O,. 2003/

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 17 in
case 2:05-CV-02382 Was distributed by fax, mail, or direct printing on
June 21 , 2005 to the parties listed.

ESSEE

 

Dara B. Oliphant

U.S. Department of Justice Tax Division
P.O. Box 227

Ben Franl<lin Station

Washington, DC 20044

Robert A. Meynardie

Nelson, Mullins, Riley & Scarborough, LLP
P.O. Box 30519

Raleigh7 NC 27622--051

Kenneth A. Janik

Nelson, Mullins, Riley & Scarborough, LLP
1\/leridian7 17th FL.

1320 Main Street

Colonibia7 SC 29201

M. Ronald Mcl\/lahan

Nelson, Mullins, Riley & Scarborough, LLP
1\/leridian7 17th FL.

1320 Main St.

Columbia, SC 29201

Steven A. McKelvey

Nelson, Mullins, Rogers & Scarborough7 LLP
P.O.Box11070

Columbia, SC 2921 1--001

Honorable .l. Breen
US DISTRICT COURT

